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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Fairly Odd Treasures, LLC                          )
                                                   )
v.                                                 )   Case No. 1:18-cv- 7719
                                                   )
THE PARTNERSHIPS and                               )   Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                        )
IDENTIFIED ON SCHEDULE “A,”                        )   Magistrate: Susan E. Cox
                                                   )
                                                   )
                                                   )


                                         Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Fairly Odd Treasures, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe           Store Name                     ID
    802        小百货天堂                          574551284383f95cd4ef732e
    448        mrfeng                         571caae53a698c3161a5c6ef
    449        mrsxiongmao                    570df40a14415158f2da16e7
    403        lmdstore                       585d206339d9d1526ad45be7
    803        张海燕店                           54b685584274a2574e060640
    637        usshopping                     54538d771280fa79536c1145
    195        dreamjewelry                   56deb34fafe3cb169b1cdb74
    471        nuojin                         579de9a73407341aaa8bdee4
    767        zhoujidigitaltechonicalcoltd   53820ff27360462cb32b5fec
    441        moresstore                     575a862b0ce0955ccb5755c5
    785        上海潮耐信息科技有限公司                   5628a395f000010694905cb9
    762        zhiyan                         56779b593a698c788b45a5b5
    506        qingdao2017                    58b65ca1cb842135e321f23d
    619        thinkthings                    58df056d6d7b290f15be8b60
     43        2017happyshop                  5909a4e12da1ba5593e3b797



Dated: February 4, 2019
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                                  Respectfully submitted,



                                  By:      s/David Gulbransen/
                                         David Gulbransen
                                         Attorney of Record

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